     Case 1:15-cv-07433-LAP Document 1131 Filed 10/20/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE

                    Plaintiff,
                                               15 Civ. 7433 (LAP)
-against-
                                                      ORDER
GHISLAINE MAXWELL,

                    Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

    The Court received notice of the filing of Ms. Maxwell’s

letter of today (dkt. no. 1129) after its order directing Ms.

Giuffre to post the relevant materials (dkt. no. 1130) had been

docketed.   In light of Ms. Maxwell’s letter, counsel shall confer,

and the material previously ordered unsealed shall be posted on

the docket no later than 9:00 a.m. on Thursday, October 22, 2020.

SO ORDERED.

Dated:      New York, New York
            October 20, 2020


__________________________________
LORETTA A. PRESKA
Senior United States District Judge




                                   1
